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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
DGR                                                271 Cadman Plaza East
F. #2016R01326                                     Brooklyn, New York 11201



                                                   May 10, 2023

By ECF

The Honorable Margo K. Brodie
Chief United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Herman Segal,
                     Criminal Docket No. 20-551 (MKB)

Dear Chief Judge Brodie:

              The government writes in connection with the above-captioned matter, and
with the consent of defense counsel, to respectfully request a thirty day adjournment of the
status conference currently scheduled for May 10, 2023 at 10:00 a.m.

              On May 8, defense counsel informed the government that they are preparing to
produce additional discovery to the government. The government expects this defense
discovery to be material to the ongoing plea negotiations between the parties. Having
conferred with each other, the parties jointly request that the Court adjourn the currently
scheduled status conference for thirty days. In addition, with the consent of defense counsel,
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the government also asks the Court to exclude time under the Speedy Trial Act through the
new status conference date, which exclusion is in the interests of justice.

                                                 Respectfully submitted,

                                                 BREON PEACE
                                                 United States Attorney

                                          By:       /s/Drew G. Rolle
                                                 Drew G. Rolle
                                                 Assistant U.S. Attorney
                                                 (718) 254-6783


cc:    James Mahon, Esq. (Counsel to the defendant) (by ECF)
       Samantha Lesser, Esq. (Counsel to the defendant) (by ECF)




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